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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   In Re:                                            : Bankruptcy No. 19-17544-elf
       Christopher R. Kreamer                        : Chapter 13
                         Debtor                      :
                                                     :
   Bridgecrest Credit Company, LLC                   :
                        Movant                       :
                                                     :
                  vs.                                :
                                                     :
   Christopher R. Kreamer                            :
                         Debtor/Respondent           :
                 and                                 :
   William C. Miller, Esquire                        :
                         Trustee/Respondent          :

           OBJECTION TO CONFIRMATION OF THE AMENDED PLAN


         Bridgecrest Credit Company, LLC (“Movant”), by its attorneys, Hladik, Onorato
  & Federman, LLP, objects to confirmation of the Amended Chapter 13 Plan of Debtor,
  Christopher R. Kreamer (“Debtor”), as follows:

         1.     As of the bankruptcy filing date of December 03, 2019, Movant holds a
  secured Claim against the Debtor’s Vehicle, a 2012 CHREVROLET SONIC,VIN #
  1G1JF5SB8C4205487 (the “Vehicle”).

         2. On January 09, 2020, Movant filed a Proof of Claim with a total secured
  claim in the amount of $7,726.63, with an interest rate of 18.840%.

          3.       The Amended Plan proposes to pay the total claim of $7,726.63, with an
  interest rate of only 0.00%.

         4.      The Amended Plan violates of 11 USC § 1325(a)(5)(B)(ii) by not
  providing for Movant to receive the full value of its claim, as the debt was incurred on
  August 18, 2019, which is within 910 days of the filing of the instant bankruptcy.

        5.     Any attempt by the Debtor to modify any portion of this Contract with
  Movant should be denied.
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         6.      Movant objects to the feasibility of the Amended Plan under 11 U.S.C. §
  1325(a)(6). The Amended Plan proposed by Debtor is not feasible. Movant requests that
  the bankruptcy case either be converted to a Chapter 7 or be dismissed pursuant to 11
  U.S.C. § 1307.

         WHEREFORE, Movant respectfully requests that this Honorable Court deny
  confirmation of the Debtor’s Amended Chaper 13 Plan.

                                                Respectfully submitted,


  Dated: 03/05/2020

                                                /s/Danielle Boyle-Ebersole, Esquire
                                                Danielle Boyle-Ebersole, Esquire
                                                Hladik, Onorato & Federman, LLP
                                                298 Wissahickon Avenue
                                                North Wales, PA 19454
                                                Phone 215-855-9521
                                                Fax 215-855-9121
                                                debersole@hoflawgroup.com
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   In Re:                                          : Bankruptcy No. 19-17544-elf
       Christopher R. Kreamer                      : Chapter 13
                         Debtor                    :
                                                   :
   Bridgecrest Credit Company, LLC                 :
                        Movant                     :
                                                   :
                 vs.                               :
                                                   :
   Christopher R. Kreamer                          :
                         Debtor/Respondent         :
                 and                               :
   William C. Miller, Esquire                      :
                         Trustee/Respondent        :

        CERTIFICATE OF MAILING OF OBJECTION TO THE PROPOSED
                     PLAN TO PARTIES IN INTEREST

          I, Danielle Boyle-Ebersole, Esquire, attorney for Bridgecrest Credit Company,
  LLC (“Movant”), certify that I served a copy of the attached Objection to the Plan to the
  parties below on 03/05/2020:

   Michael W. Gallagher, Esquire              Christopher R. Kreamer
   Via Electronic Filing                      507 Columbia Avenue
   Attorney for Debtors                       Lansdale, PA 19446
                                              Via First Class Mail
   William C. Miller, Esquire                 Debtors
   Via Electronic Filing
   Trustee

                                                   Respectfully Submitted,
  Date: 03/05/2020                                /s/Danielle Boyle-Ebersole, Esquire
                                                  Danielle Boyle-Ebersole, Esquire
                                                  Hladik, Onorato & Federman, LLP
                                                  298 Wissahickon Avenue
                                                  North Wales, PA 19454
                                                  Phone 215-855-9521/Fax 215-855-9121
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